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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                  :
    In re:                                                        :   Chapter 11
                                                                  :
    ORION HEALTHCORP, INC1.                                       :   Case No. 8-18-71748 (AST)
                                                                  :
                          Debtors.                                :   (Jointly Administered)
                                                                  :
    HOWARD M. EHRENBERG IN HIS CAPACITY                           :
    AS LIQUIDATING TRUSTEE OF ORION                               :   Adv. Pro. No. 8-20-08051 (AST)
    HEALTHCORP, INC., ET AL.,                                     :
                                                                  :
                           Plaintiff,                             :
                                                                  :
    v.                                                            :
                                                                  :
    ELENA SARTISON; 2 RIVER TERRACE                               :
    APARTMENT 12J LLC, CLODAGH BOWYER                             :
    GREENE A/K/A CLODAGH BOWYER, ELLIOTT                          :
    GREENE,                                                       :
                                                                  :
                             Defendant(s)                         :
                                                                  :

                                            DISCOVERY PLAN

             In order to promote the efficient and expeditious disposition of the above-captioned

adversary proceeding (the “Adversary Proceeding”), the following schedule shall apply to the

Adversary Proceeding. This Discovery Plan is submitted in compliance with the Initial

Scheduling Order issued by the Court on June 22, 2020, the Amended Scheduling Order


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network
Management, LLC (7168). The corporate headquarters and the mailing address for the Debtors listed
above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.



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And Orde r Concerning Summary Judgment issued on November 16, 2020 [Dkt .

No. 38 ], a nd in accordance with Fed. R. Civ. P. 16(b) and 26(f). The Discovery Plan is

submitted by Plaintiff and Defendants, 2 River Terrace Apartment 12J, LLC, Clodagh and

Elliott Greene and Elena Sartison. All parties have appeared in the adversary as represented

by counsel.

        1.       Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) have been completed by

all parties.

        2.       The parties have met and conferred regarding the discovery to be conducted

and documents maintained in electronic format. Plaintiff has identified the issue of the

Debtors’ servers, some of which have been coded into a searchable format while others

which would require additional time and expenditures. The parties have agreed to retain all

evidence stored in electronic format and will cooperate to facilitate the exchange of relevant

documents.

        3.       All fact discovery shall be completed no later than April 20, 2021.

        4.       The parties are to conduct discovery in accordance with the Federal Rules of

Civil Procedure ("Civil Rules"), Federal Rules of Bankruptcy Procedure ("Bankruptcy

Rules") and the Local Rules of the Bankruptcy Court for the Eastern District of New York

("Local Bankruptcy Rules"). The parties anticipate discovery on the subject transfers,

product and services rendered, and the surrounding business dealings.

        5.       Expert discovery

                 a.          All expert discovery shall be completed no later than June 20, 2021.

                 b.          No later than April 30, 2021: (i) the party bearing the burden of proof on

any issue shall make all disclosures required under Fed. R. Civ. P. 26 (a)(2); and (ii) all rebuttal




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or responsive expert reports and other disclosures required under Fed. R. Civ. P. 26 (a)(2) shall

be made no later than thirty (30) days thereafter.

         6.      Mediation

         If the parties desire and agree to mediate their dispute(s) at any time during the pendency

of this adversary proceeding, they shall jointly file a stipulation (the “Stipulation”) with the

Court

         7.      Motions

                 a.          All motions and applications shall be governed by the Civil Rules,

Bankruptcy Rules and Local Bankruptcy Rules, including pre-motion conference

requirements. Pursuant to the authority provided by Fed. R. Civ. P. 16(b)(2), a motion for

summary judgment will be deemed untimely unless a request for a pre-motion conference

relating thereto (see Local Bankruptcy Rule 7056-1) is made in writing within fourteen (14)

days after the close of fact discovery (see paragraph 3 hereof).

         8.      Trial

                 a.          Trial in this matter is scheduled for ____________, 2021. The proposed

Joint Pretrial Order shall be prepared and submitted on or before_________________, 2021.

Plaintiff’s trial estimate is two days excluding motions in limine. Defendant’s trial estimate is

two days.

         9.      This ORDER may not be modified or the dates herein extended, except by

further Order of this Court for good cause shown. Any application to modify or extend any

deadline established by this Order shall be made in a written application no less than five (5)

days prior to the expiration of the date sought to be extended.




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Dated: January 8, 2021

 PACHULSKI STANG ZIEHL & JONES LLP                     GOLDBERG WEPRIN FINKEL GOLDSTEIN LLP
 Attorneys for Plaintiff Howard M. Ehrenberg,          Attorneys for Clodagh Bowyer Greene A/K/A
 in his capacity of Liquidating Trustee of Orion       Clodagh Bowyer, Elliott Greene
 Healthcorp, Inc., et al

 By: _/s/ Jeffery P. Nolan ________________            By:       /s/ J. Ted Donovan
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Law Offices of Albert Dayan                             Parlatore Law Group, LLC
Attorneys for Elena Sartison                            Attorneys for 2 River Terrace, Apt. 12J, LLC


By:     /s/ Albert Y. Dayan                             By:    /s/ Maryam N. Hadden
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SO ORDERED:




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